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B 2100A (Form 2100A) (12/15)


                              UNITED STATES BANKRUPTCY COURT
                                        For The DISTRICT OF SOUTH CAROLINA

In re: Ezekiel Tyrone Kitt Jr                                                                            Case No. 18-03656

                             TRANSFER OF CLAIM OTHER THAN FOR SECURITY
A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a). Transferee
hereby gives evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other
than for security, of the claim referenced in this evidence and notice.


NYMT Loan Trust 2014-RP1                                                   Residential Mortgage Loan Trust 2013-TT2,
                                                                           by US Bank National Association, not in its
                                                                           individual Capacity, but solely as Legal Title
                                                                           Trustee
                     Name of Transferee                                                        Name of Transferor

Name and Address where notices to transferee                               Court Claim # (if known):               5-3
should be sent:                                                            Amount of Claim: $52,683.91
BSI Financial Services
1425 Greenway Dr., #400                                                    Date Claim Filed: January 9, 2019
Irving, TX 75038
Phone:       800-327-7861                                                  Phone:       866-882-8187
 Last Four Digits of Acct #: 2901                                          Last Four Digits of Acct #:             0580
Name and Address where transferee payments
should be sent (if different from above):
BSI Financial Services
314 S. Franklin St., P.O. Box 517
Titusville, PA 16354
Phone: 800-327-7861
Last Four Digits of Acct #: 2901

I declare under penalty of perjury that the information provided in this notice is true and correct to the
best of my knowledge and belief.

By: /s/ J. Pamela Price                                                     Date:_October 18, 2021
          Transferee/Transferee's Agent

Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.
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                                    CERTIFICATE OF SERVICE

The undersigned hereby certifies under penalty of perjury that he/she is over eighteen (18) years of age
and that the TRANSFER OF CLAIM OTHER THAN FOR SECURITY in the above captioned
case was this day served upon the below named persons by mailing, postage prepaid, first class mail or
by electronic service, a copy of such instrument to each person, party, and/or counsel at the addresses
shown below:

Via U.S. Mail
Ezekiel Tyrone Kitt Jr
119 Kitt Road
Summerville, SC 29483
              Debtor


Via CM/ECF electronic service:
Russell A DeMott
DeMott Law Firm, P.A.
300 N. Cedar Street
Suite A
Summerville, SC 29483
              Debtor’s Attorney

James M. Wyman
PO Box 997
Mount Pleasant, SC 29465
             Trustee


Dated: October 18, 2021_____________

                                             Respectfully Submitted,
                                             /s/ J. Pamela Price
                                             J. Pamela Price (Bar 14336)
                                             MCMICHAEL TAYLOR GRAY, LLC
                                             Telephone: 404-474-7149
                                             Facsimile: 404-745-8121
                                             E-mail: pprice@mtglaw.com
                                             File #: 21-000231-01
                                             Counsel for Movant
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